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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE



 MICHAEL A. MCCARTHY, SR.                                                                PLAINTIFF


 v.                                                        CRIMINAL ACTION NO. 3:10CR-51-S



 UNITED STATES OF AMERICA                                                             DEFENDANT



                           MEMORANDUM OPINION AND ORDER


        This matter is before the court for consideration of a number of motions filed by the

 defendant, Michael A. McCarthy, Sr., pro se (hereinafter “McCarthy”).

        McCarthy filed a motion asking the court to disregard any response to McCarthy’s motion

 for release pending appeal (DN 624) on the ground that any response filed by the United States after

 November 2, 2012 is untimely. In fact, the United States responded to the motion for bond pending

 appeal on November 2, 2012. (DN 604). Therefore, McCarthy’s motion to disregard the United

 States’ response (DN 624) is DENIED.

        McCarthy has moved for release pending appeal. (DN 600). He was indicted for aiding and

 abetting the possession with intent to distribute cocaine and being a felon in possession of a number

 of firearms. McCarthy pleaded guilty to the firearms charge on July 22, 2011 under a Rule

 11(c)(1)(B) plea agreement and was sentenced to eighteen months imprisonment.

        In order to obtain release pending appeal of a conviction, the defendant must establish by

 clear and convincing evidence that he is not likely to flee and that he does not pose a danger to the
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 safety of any other person or the community. 18 U.S.C. § 3143(b)(1). He must also establish that

 the appeal is not for purpose of delay, and that the appeal raises a substantial question of law or fact

 likely to result in reversal. Id.

         As McCarthy waived the right to appeal as part of his plea agreement, there exists no

 substantial question of law or fact likely to result in reversal. The motion for release pending appeal

 (DN 600) is DENIED.

         McCarthy has moved for a certificate of appealability so that he may appeal from the August

 22, 2012 Order of the court denying a collateral attack on his sentence. (DN 588). In that order, the

 court found that “McCarthy has not made a substantial showing of a denial of a constitutional right.

 Thus, to the extent that McCarthy’s motion may be construed as one under 28 U.S.C. § 2255 despite

 McCarthy’s failure to deem it as such, the court will deny a certificate of appealability. 28 U.S.C.

 § 2253(c)(2).” 8/22/12 Order, p. 4. Thus the issue of a certificate of appealability has already been

 raised and decided.

         McCarthy also attempts to craft issues of constitutional magnitude, claiming that he did not

 receive copies of a number of responsive briefs filed by the United States and alleging that the Court

 “helped” the United States by requiring it to file a motion for extension of time to file an untimely

 response.

         First, we note that these are not matters subject to appeal, as they have not been raised as a

 matter of first impression in the district court. In any event, such allegations, if true, do not

 implicate constitutional rights, and thus McCarthy has not made a substantial showing of a denial

 of a constitutional right entitling him to a certificate of appealability. The motion for a certificate

 of appealability (DN 601) is DENIED.



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 IT IS SO ORDERED.




                 December 20, 2012




  cc:   Counsel of Record
        Defendant Michael McCarthy, Sr.




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